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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

BRADLEY WILSON                                *
410 Edmund Street
Aberdeen, Maryland 21001                      *

and                                           *

BRANDI HOUGHTLING                             *
410 Edmund Street
Aberdeen, Maryland 21001                      *

       Plaintiffs,                            *      Civil No. _______________________

v.                                            *

CSX TRANSPORTATION, INC.                      *
500 Water Street
Jacksonville, Florida 32202                   *

       Defendant.                        *
*      *     *         *      *     *          *   *                 *      *       *       *
                                   NOTICE OF REMOVAL

       Defendant CSX Transportation, Inc. ("CSXT"), by its undersigned counsel, hereby

removes this action from the Circuit Court for Baltimore City, Maryland (the "Circuit Court") to

the United States District Court for the District of Maryland.

                               Requirements of 28 U.S.C. § 1446

       1.      Plaintiffs filed this action, captioned Bradley Wilson, et al. v. CSX Transportation,

Inc., Case No. 24-C-22-004040 OT, in the Circuit Court on or about September 16, 2022.

Accordingly, pursuant to 28 U.S.C. § 1446(c)(1), this Notice of Removal is being filed less than

one year after commencement of this action.

       2.      A copy of the Complaint, Summons directed to CSXT, and Civil Cover Sheet are

attached hereto as Exhibits A, B, and C, respectively. No other process, pleadings, or orders

have been served on CSXT.
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         3.       Plaintiffs served the Summons and Complaint on CSXT by a private process

server on September 23, 2022. Thus, in accordance with 28 U.S.C. § 1446(b)(1), this Notice of

Removal is being filed within 30 days after receipt by service of the Complaint, which was the

initial pleading setting forth the claim for relief against CSXT upon which this action is based.

         4.       Attached hereto as Exhibit D is a copy of the 28 U.S.C. § 1446(d) written notice

to Plaintiffs and to the Clerk of the Circuit Court, which will be filed with the Clerk of the

Circuit Court.

         5.       Pursuant to 28 U.S.C. § 1446(b)(2)(A), there are no other defendants who must

join in this Notice of Removal, as Defendant CSXT is the only defendant named in the

Complaint.

                           Jurisdiction under 28 U.S.C. §§ 1332 and 1441

         6.       Removal of this lawsuit is authorized by 28 U.S.C. § 1441(a) because this Court

has original jurisdiction over this civil action under 28 U.S.C. § 1332.

         7.       Plaintiffs, who are natural persons residing in Maryland, are citizens of Maryland.

See Exhibit A, Caption (identifying Plaintiffs' address as 410 Edmund Street, Aberdeen,

Maryland 21001).

         8.       CSXT is a Virginia corporation with its principal place of business in

Jacksonville, Florida. CSXT, therefore, is a citizen of both Virginia and Florida.

         9.       Diversity of citizenship exists between Plaintiffs, who are citizens of Maryland,

and CSXT, which is a citizen of Virginia and Florida.

         10.      The amount in controversy in this action is in excess of $75,000, exclusive of

interest and cost. See Exhibit A, WHEREFORE clauses.



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         11.      This Court has original jurisdiction over the subject matter of this action pursuant

to 28 U.S.C. § 1332(a)(1) because this action is between citizens of different states, and the

amount in controversy exceeds the sum of $75,000.


                                                        Respectfully submitted,


Dated: October 24, 2022                                  /s/ Amy E. Askew
                                                        Amy E. Askew (Bar No. 26709)
                                                        Ryan A. Mitchell (Bar No. 29151)
                                                        Megan L. Micco (Bar No. 20936)
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                                                        Counsel for Defendant
                                                        CSX Transportation, Inc.




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                               CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 24th day of October 2022, a copy of the foregoing

Notice of Removal, including all exhibits thereto, was sent by first-class mail, postage prepaid,

and electronic mail to:

                             Neil J. Bixler, Esquire
                             Law Office of Neil J. Bixler, P.A.
                             1006 S. Macon Street
                             Baltimore, Maryland 21224
                             nbixler@bixlerlaw.com

                             Counsel for Plaintiffs



                                            /s/ Amy E. Askew
                                            Amy E. Askew




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